
*839OPINION.
Phillips:
Whether the taxpayer was a resident or nonresident alien of the United States after May, 1922, is practically a moot question. The return filed by the taxpayer showed gross income of $5,000, against which a personal credit of $2,900 was claimed, leaving taxable income of $2,100, upon which a tax of $84 has previously been assessed. The deficiency determined by the Commissioner is the amount of tax, as he computes it, in excess of the $84 previously assessed. If the taxpayer was a resident throughout the year 1922, as he claims, the deficiency must be disallowed. On the other hand, if the taxpayer became a nonresident in 1922, the Commissioner was in error in including the entire compensation for the year as taxable income to the taxpayer. As a nonresident alien the taxpayer would be taxable only upon such portion of the $5,000 as was paid him for services rendered within the United States, or $2,083.33, being five months’ salary. Deducting from this the exemption of $1,000 allowed a nonresident alien leaves taxable income of $1,083.33, upon which the tax at 8 per cent would be $82.67, or $1.33 less than the amount assessed upon the original return.
